Hand-Delivered

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

FILED
ASHEVILLE DIVISION ASHEVILLE, NC
FILE NO: 1:25 CV 58-MOC-WCM JUL 03 2025

U.S. DISTRICT COURT
CHRISTOPHER JONAS BROOKS ~—} W, DISTRICT OF N.C.
PLAINTIFF, }
} PLAINTIFF’S REPLY BRIEF IN
v. } SUPPORT OF MOTION FOR RULE
} 11 SANCTIONS
ASHEVILLE DETOX LLC et al. }
}

DEFENDENTS

NOW COMES, Plaintiff Christopher Jonas Brooks, appearing pro se, respectfully
submits this Reply in further support of his Motion for Rule 11 sanctions. Defendants’ Response
not only fails to refute but in fact confirms the sanctionable misconduct at issue. They boldly
assert that it was proper to sign and mail a purported settlement agreement-—even though they
concede that no such agreement was ever signed or funded at the time they invoked if as a
defense. Worse still, Defendants subsequently tampered with the record by altering a court-filed
exhibit to manufacture evidence of an agreement that never existed. Under the Supreme Court's
binding precedent in Cooter & Gell v. Hartmarx Corp., 496 U.S, 384, 393 (1990), the filing of
papers without an objectively reasonable factual or legal inquiry—and particularly those

involving manipulation of court documents—"shail" be met with appropriate sanctions.

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L DEFENDANTS' RESPONSE CONFIRMS THEIR FOURTH AFFIRMATIVE

DEFENSE VIOLATED RULE 11(b)(3)

Defendants' own admissions demonstrate that their Fourth Affirmative Defense lacked
the evidentiary support required by Federal Rule of Civil Procedure 11(b)(3), which mandates
that "factual contentions have evidentiary support or, if specifically, so identified, will likely
have evidentiary support after a reasonable opportunity for further investigation or discovery."
The Supreme Court in Business Guides, Inc. v. Chromatic Communications Enterprises, 498
U.S. 533, 548-49 (1991), established that Rule 11 applies an objective standard requiring
"reasonable inquiry into beth the facts and the Jaw" and that "good faith alone is not
sufficient if the filing is objectively unreasonable."

Defendants acknowledge that they "took" Plaintiffs court-filed settlement agreement,
"signed it,” and mailed it with payment—actions that occurred months after asserting their
defense. Their claim that "Plaintiff has twice (if not thrice) fully settled the claims he brought in
this case" reveals the confusion underlying their defense. This uncertainty about how many
settlements allegedly exist demonstrates the absence of factual foundation for their March 2025
assertion of a specific November 2024 agreement.

The Fourth Circuit in Brubaker vy, City of Richmond, 943 F.2d 1363, 1373 (4th Cir.
£991), holds that such conduct is sanctionable when it lacks objective reasonableness.
Defendants' subsequent admission of "misplacing" the alleged document, combined with their
need to create a new version using Plaintiffs court-filed exhibit, confirms that their Fourth

Affirmative Defense was objectively unreasonable when filed.

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I. THE DEVASTATING ADMISSION EIN DOCUMENT 31

In Defendants’ Court filing Document 31, page 2, Argument Section II, Defendants
make an extraordinary admission that completely undermines their position:
"The alleged lack of Asheville Detox's signature on the 2024 Settlement Agreement

does not affect its enforceability particularly when Brooks signed it."

1. Admits No Valid Agreement Existed: Defendants acknowledge that Asheville Detox

never signed the alleged 2024 settlement agreement.

2. Contradicts Their Fourth Affirmative Defense: In March 2025, they asserted a defense

based on a settlement agreement they now admit was unsigned by one party,

3. Demonstrates Knowledge of Deficiency: They knew the agreement lacked an essential

element but asserted it as a defense anyway.

4. Claims Legal Impossibility: They argue an unsigned agreement is enforceable, which

contradicts basic contract law principles.

iLL THE TIMELINE OF CONTRADICTIONS

The timeline of the Defendants’ contradictory statements demonstrates the objectively
unreasonable nature of their conduct:
* March 2025: Assert Fourth Affirmative Defense claiming valid November 2024 settlement

* May 2025: Admit to “misplacing” the November 2024 document in their motion to enforce

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* July 2025: Admit in Document 31 that Asheville Detox never signed the 2024 agreement
* Throughout: Continue to claim enforceability despite these admissions
This pattern shows Defendants knew or should have known their Fourth Affirmative

Defense lacked factual support when filed.

IV. DEFENDANTS' ALTERATION OF COURT-FILED DOCUMENTS VIOLATES

FUNDAMENTAL EVIDENTIARY PRINCIPLES

Defendants did more than simply reference a filed exhibit—they took Plaintiff's court-
filed Exhibit 13-6, added new signatures and a date, and then presented it as an executed
settlement agreement. The Supreme Court in Chambers v. NASCO, Inc., 501 U.S. 32, 44-46
(1991), endorsed sanctions where parties manipulate the record because such conduct "strikes at
the heart of the judicial process."

Under Rule 901, every proffered document must be authenticated to show it is what its
proponent claims. By altering a court record without any custodian's testimony or chain-of-
custody foundation, Defendants rendered Exhibit 13-6 inherently unauthentic. Rule 902(b)(1)
further provides that copies of public records are self-authenticating only if free from alteration.
Their conduct stripped any presumption of trustworthiness from the exhibit.

Courts have routinely sanctioned parties for tampering with judicial records. Similarly, the
Fourth Circuit recognizes that document falsification justifies sanctions under the court's inherent
powers, Permitting this altered exhibit would undermine confidence in the integrity of the record

and reward deception. Accordingly, the Court should strike any reference to—or use of—any

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and all versions of the modified Exhibit 13-6 and impose sanctions for this blatant misuse of

evidentiary rules.

Y. DEFENDANTS' RULE 408 VIOLATION DEMONSTRATES DISREGARD FOR

FUNDAMENTAL PROTECTIONS

Defendants’ claim that "there is nothing improper about attaching his Rule 11 letter in
response to his motion to strike the affirmative defense of release" ignores Federal Rule of
Evidence 408(a)'s clear prohibition on using settlement communications to prove the validity or
amount of a disputed claim. In E.. DuPont de Nemours & Co. v. Kolon Industries, 803 F.
Supp. 2d 469, 488 (ED. Va, 2011), courts have enforced FRE 408 to protect negotiation
integrity,

Defendants’ filing of Plaintiff's confidential Rule 11 safe harbor letter and accompanying
settlement proposal was not to prove the existence of a settlement, but to portray Plaintiff as
unreasonable—precisely the type of conduct Rule 408 prohibits. Their violation of this
fundamental evidentiary rule demonstrates the pattern of disregard for procedural safeguards that

characterizes their conduct throughout this litigation.

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VI. THE WORKERS' COMPENSATION AGREEMENT CANNOT SUPPORT

DEFENDANTS' CLAIMS

Defendants’ reliance on the Workers’ Compensation Agreement ignores the document's
explicit limitations. North Carolina law enforces clear contract terms as written. State ex rel.
Comm'r of Ins, v. Rate Bureau, 300 N.C, 381, 387 (1980). The agreement unequivocally states
on page 11: "no term of this agreement shall be interpreted to bar any future workers
compensation plans that the plaintiff may have...that arise after November 18th." More
definitively, page 12 provides: “all parties agree that no rights other than those arising
under the provisions of the workers compensation act...are released by the execution of this
agreement,"

These provisions demonstrate that the Workers' Compensation Agreement was precisely
limited to workers' compensation claims and cannot, by its own terms, serve as a bar to Plaintiff's
civil employment claims. Defendants' attempt to stretch this limited agreement into a global

release constitutes a material misrepresentation of the document's scope and effect.

Vil. DEFENDANTS' PATTERN OF MISREPRESENTATION WARRANTS

ENHANCED SANCTIONS

Defendants’ current conduct is part of a broader pattern of misrepresentation across
multiple proceedings that warrants enhanced sanctions. The federal court in In Re Pradaxa

(Dabigatran Extexilate) Products Liability Litigation, MDL (S.D. Ill. 2014), recognized that

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courts should consider the cumulative effect of repeated misconduct, stating that "there is a
cumulative effect that the Court not only can but should take into account" when imposing
sanctions for "egregious" misconduct and "contumacious disregard for 'the Court's' authority."

Workers' Compensation Proceedings: Defendants initially denied the occurrence of Plaintiff's

workplace incident, only to later concede it happened while disputing the circumstances. This

involved changing their factual assertions and the alleged deletion of video evidence that could

have clarified the events.

Unemployment Proceedings: Defendants falsely claimed Plaintiff quit for personal reasons in

May 2024, leading to a three-month delay in Plaintiff receiving benefits during Hurricane Helene

and in a federally declared disaster area. Defendants failed to appear at the subsequent hearing,

implicitly acknowledging the falsity of their initial statements,

Current Federal Proceedings: Defendants asserted a November 2024 settlement agreement

they did not possess, later claimed it was "misplaced," and attempted to create one retroactively

using Plaintiff's court-filed document.

This pattern demonstrates a consistent willingness to make unsubstantiated factual
assertions in official proceedings to gain tactical advantage, supporting the imposition of
enhanced sanctions under the cumulative effect doctrine established in In Re Pradaxa.
Such repeated bad faith conduct supports enhanced sanctions under Readway Express, Inc. v.

Piper, 447 U.S, 752, 767 (£980), and the court's inherent authority.

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VIE. DEFENDANTS' SETTLEMENT MISREPRESENTATION CONSTITUTES
SANCTIONABLE CONDUCT

The Southern District of New York in Otto v. Hearst Communications, 2019 WL
1034116, at *5 (S.D.N.Y. Feb, 21, 2019), addressed sanctions for material misrepresentations
during settlement processes, noting that sanctions are appropriate when there is clear evidence
that counsel "knowingly made a materially false statement" and the opposing party “had been
prejudiced by the false statement."

Defendants' misrepresentation of having a signed settlement agreement they didn't
possess, combined with their coercive tactics of sending cash and a check to a pro se litigant,
constitutes the type of material misrepresentation that warrants sanctions. Their dismissive
characterization of Plaintiff's arguments as "meritless" without substantive analysis, and their
assertion that "Defendants should not even be here," reflects the very attitude that Rule 11 was

designed to address.

IX. DEFENDANTS’ REQUEST FOR ATTORNEY’S FEES VIOLATES RULE 11’S

PURPOSE

Defendants! request that this Court "award Defendants its attorneys’ fees incurred in
response to Plaintiffs Motion” represents an attempt to punish Plaintiff for bringing a legitimate
sanctions motion. The Supreme Court in Cooter & Gell emphasized that Rule 11's purpose is

deterrence, not reimbursement. Defendants' characterization of reasonable attorneys' fees as

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"relatively meager here (less than $2,000)" while seeking to impose them on a pro se
litigant demonstrates a lack of proportionality and good faith.

This request is particularly inappropriate given that Defendants' response confirms
rather than refutes the Rule 11 violations alleged. The Second Circuit in Hadges v. Yonkers
Racing Corp., 48 F.3d 1320 (2d Cir. 1995), established that misrepresentations to the court are
sanctionable conduct. Seeking attorney fees for defending objectively sanctionable conduct
violates the spirit of Rule 11 and constitutes an improper attempt to chill legitimate sanctions

motions.
X. DEFENDANTS FAIL TO ADDRESS CRITICAL FACTUAL CONTRADICTIONS

Defendants’ response is notable for what it does not address:

1, 1,The Impossible Future Date: Defendants never explain their claim in their motion to
enforce settlement that Plaintiff signed an agreement on November 25, 2025-—a date in
the future,

2, 2,The "Misplaced" Document: Defendants provide no explanation for how they
"misplaced" the alleged November 2024 agreement or why they needed to create a new
version using Plaintiff's court-filed exhibit.

3. 3,Timeline Contradictions: Defendants never reconcile their March 2025 assertion of a
November 2024 settlement with their May 2025 admission that no signed agreement

existed.

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These omissions are telling and support the inference that Defendants cannot provide
satisfactory explanations because their conduct was objectively unreasonable under the

standard established in Business Guides,

XI. THE COURT SHOULD IMPOSE SANCTIONS TO DETER FUTURE ABUSE

As this Court noted in Charlotte-Mecklenburg Sch, Bd. of Educ., No. 3:19-cv-244-
MOC-DCK, 2020 U.S, Dist. LEXIS 145389, at *4-5 (W.D.N.C. Aug. 12, 2020), "Rule 11
motions should not be prepared or threatened for insignificant violations of the rule [and a] claim
of violation of Rule 11 is a serious charge and can itself form the basis of a Rule 11 sanction."
Here, Defendants’ violations are far from insignificant. Their misrepresentation of a non-

existent settlement agreement, alteration of court-filed documents, violation of Rule 408,

and pattern of misconduct across multiple proceedings constitute serious violations that

warrant sanctions. The Supreme Court in Roadway Express, Inc. v. Piper, 447 U.S. 752, 767
(1980), endorses sanctions for repeated bad faith under 28 U.S.C. § 1927 and the court's

inherent powers.

CONCLUSION

Defendants’ admissions in Document 31 confirm that their Fourth Affirmative Defense

was objectively unreasonable when filed, Their acknowledgment that "the alleged lack of

Asheville Detox's signature on the 2024 Settlement Agreement does not affect its enforceability"

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demonstrates they knew the agreement lacked an essential element but asserted it as a defense
anyway.

The Supreme Court's holdings in Ceoter & Gell and Business Guides establish that such
conduct violates Rule 11's objective reasonableness standard and mandates sanctions. The
pattern of misconduct demonstrated across multiple proceedings, as recognized in In Re

Pradaxa, supports enhanced sanctions to deter future abuse.

For these reasons, Plaintiff respectfully requests that this Court:

LGRANT Plaintiff's Motion for Rule 11 Sanctions.

2. IMPOSE monetary sanctions of $1,000 against Defendants.

3.AWARD Plaintiff $200 in expenses incurred in bringing this motion.

4.STRUCE Defendants’ filings that violate Federal Rule of Evidence 408.
5.ORDER withdrawal of Defendants’ Fourth Affirmative Defense.

6.DENY Defendants’ request for attorney's fees; and

7.GRANT such other relief as the Court deems just and proper.

Respectfully submitted,

/s/ CHRISTOPHER JONAS BROOOKS
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July 3, 2026

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CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing document was mailed/ delivered to the
following individuals at the addresses listed:

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This the 3rd Day of July 2025

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